         Case:17-16886-TBM Doc#:89 Filed:03/05/18                                           Entered:03/05/18 12:37:20 Page1 of 12
Fill in this information to identify the case:

United States Bankruptcy Court for the District of Colorado,
Denver Division
                                                                                             Case #:
Debtor 1        Scott, Gregory Dwayne
                                                                                             Chapter: 13
Debtor 2        Scott, Constance Lorraine




Local Bankruptcy Form 3015-1.1
 CHAPTER 13 PLAN
INCLUDING VALUATION OF COLLATERAL AND CLASSIFICATION OF CLAIMS

Complete applicable sections. This chapter 13 plan datedFebruary 26, 2018 supersedes all previously filed plans.

Part 1      Notices

1.1. To Creditors: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file a written objection with the Court by the
     deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file a timely objection, you will be deemed to have accepted the
     terms of the plan, which may be confirmed without further notice or hearing. Creditors must file timely proofs of claim in order to receive the applicable
     payments.

1.2. NONSTANDARD PROVISIONS
     [ x ] This plan contains nonstandard provisions, set out in Part 12 of the plan.

1.3. MOTIONS FOR VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11 U.S.C.§ 506
     [ ] This plan contains a motion for valuation ofpersonal property collateral and determination of secured status under 11 U.S.C.§ 506. Additional
         details are provided in Part 7.4 of this plan.
     [ ] The debtor is requesting a valuation of real property collateral and determination of secured status under 11 U.S.C.§ 506 by separate motion.
         Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan. Status of motion:

           [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]

1.4. MOTIONS FOR LIEN AVOIDANCE UNDER 11 U.S.C.§ 522(f)
     [ ] The debtor is requesting avoidance of a judicial lien or nonpossessory, non-purchase-money security interest under 11 U.S.C. § 522(f)
     by separate motion. Additional details are provided in Part 10.4 of this plan. Status of motion:

      [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]


Part 2      Background Information

2.1       Prior bankruptcies pending within one year of the petition date for this case:
          Case Number and Chapter                    Discharge or dismissal / conversion                       Date
          None

2.2        Discharge: The debtor:
           [ x ] is eligible for a discharge

           OR

           [ ] is not eligible for a discharge and is not seeking a discharge.

2.3        Domicile & Exemptions:

           Prior states of domicile:

                within 730 days N/A

                within 910 days N/A

                                                            [X] state of Colorado or [ ] federal exemptions.
           The debtor is claiming exemptions available in the




L.B.F. 3015-1.1 (12/17)                                                                                                                      page 1
         Case:17-16886-TBM Doc#:89 Filed:03/05/18                                           Entered:03/05/18 12:37:20 Page2 of 12
2.4        Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C.
                                                                                                                     § 101(14A). Notice shall be
           provided to these parties in interest:

           A.        Spouse/Parent:
                     N/A
                     [identify]
           B.        Government:
                     N/A
                     [identify]
           C.        Assignee or Other:
                     N/A
                     [identify]
           D.        The Debtor [ ] has provided the Trustee with the address and phone number of the Domestic Support Obligation recipient, [X]
                                                                                                                                               or cannot
                     provide the address or phone number because it/they is/are not available.
           E.        The current monthly income of the debtor, as reported on Official form 122C-1 or 122C-2, as applicable, [X]
                                                                                                                             is below, [ ] equal to, or [ ]
                     above the applicable median income

Part 3      Plan Analysis

3.1        Total Debt Provided for under the Plan and Administrative Expenses

           A.       Total Priority Claims (Class One)
                    1. Unpaid attorney’    s fees                                                                                       $ 4,310
                                        s fees are estimated to be $ 6,000 [amount] of which $ 1,690 [amount] has been prepaid)
                         (total attorney’
                    2. Unpaid attorney’    s costs (estimated)                                                                          $ 0300
                    3. Total taxes
                         (Federal $ 0 [amount]; State $ 0 [amount]; Other $ 0 [amount])                                                 $0
           B.       Total payments to cure defaults (Class Two)                                                                         $ 89,218
           C.       Total payments on secured claims (Class Three)                                                                      $0
           D.       Total payments on unsecured claims (Class Four)                                                                     $0
           E.       Sub-Total                                                                                                           $ 93,828
           F.       Total trustee’ s compensation (10%) of debtor’ s payments)                                                          $ 9382
           G.       Total debt and administrative expenses                                                                              $ 103,210

3.2        Reconciliation with Chapter 7
           A. The net property values set forth below are liquidation values rather than replacement values. The replacement values may appear in Class
               Three of the plan.
           B. Assets available to Class Four unsecured creditors if Chapter 7 filed:
                    1. Value of debtor’ s interest in non-exempt property                                                  $0

                                                                               Less costs                       x Debtor’s       Less
Property                                                      Value            of sale         Less Liens       Interest         Exemptions       = Net Value

None

                           2.   Plus: value of property recoverable under avoiding powers:                                              $0
                           3.   Less: estimated Chapter 7 administrative expenses:                                                      $0
                           4.   Less: amounts payable to priority creditors:                                                            $0
                           5.   Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if negative, enter zero)   $0

           C.       Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds recovered from
                    “
                    other property”described in Part 4.1.D below.                                                               $0

Part 4      Properties and Future Earnings Subject to the Supervision and Control of the Trustee

4.1      Future Earnings: The debtor submits to the supervision and control of the Trustee all or such portion of the debtor's future earnings or other future
income as is necessary for the execution of the Plan, including:
         A. Future earnings which shall be paid to the trustee for a period of approximately 60 [#] months, beginning [month/day/year] as follows:
         B.
             Number of Payments                                  Amount of Payments                              Total
                7                                                     various                                           6058
                53                                                    1834                                              97,202
                                                                      Total of monthly payments                         103,260

           C.        Amounts for the payment of Class Five post-petition claims included in above: 0$ [amount]
           D.        Other property:

           [specify].



L.B.F. 3015-1.1 (12/17)                                                                                                                       page 2
         Case:17-16886-TBM Doc#:89 Filed:03/05/18                                       Entered:03/05/18 12:37:20 Page3 of 12

4.2        Payments: The debtor agrees to make payments under the Plan as follows:
      [ ] Voluntary wage assignment to employer: Paid in the following manner: $                   [amount] to be deducted
      [time period, e.g., weekly, monthly, per pay period, etc.]. Employer’
                                                                          s name, address, telephone number: [name, address, telephone number].

      OR

      [X] Direct Payment from debtor to trustee


Part 5      Class One - Claims Entitled to Priority Under 11 U.S.C. § 507

Unless other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash payments prior to the
commencement of distributions to any other class (except that the payments to the Trustee shall be made by deduction from each payment
made by the debtor to the Trustee) as follows:

5.1        Allowed administrative expenses:
           A. Trustee's compensation (10% of amounts paid by debtor under this Plan)                                                  $ 9832
           B. Attorney's Fees (estimated and subject to allowance)                                                                    $ 4,310
           C. Attorney's Costs (estimated and subject to allowance)                                                                   $ 0300

5.2        Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 [if none, indicate]:
           A. Domestic Support Obligations:A proof of claim must be timely filed in order for the Trustee to distribute amounts provided by the
           plan.
                1. Priority support arrearage: The debtor owes past due support to
                     [name] in the total amount of $                       [amount] that will be paid as follows:
                     [ ] Distributed by the Trustee pursuant to the terms of the Plan; or
                     [ ] The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or J) in the amount of $
                     [amount] to                                                        . Of that monthly amount,                            [amount] is for
                     current support payments and $                          [amount] is to pay the arrearage.
                2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court and submit to the
                Trustee an update of the required information regarding Domestic Support Obligations and the status of required payments.
           B. Taxes
                    1. Federal Taxes                                                                                                  $0
                    2. State Taxes                                                                                                    $0
                    3. Other Taxes:                                                                                        $ None

                          [describe]
                     4.   Other Class One Claims (if any) (describe):                                                           $ None

                          [describe]

Part 6      Class Two –Defaults

6.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Two, debtor must specifically serve such creditor in the
           manner specified in Fed. R. Bankr. P. 9014 and 7004.
6.2        Class Two A (if none, indicate): Claims set forth below are secured only by an interest in real property that is the debtor's principal residence
           located at 5417 S 5.4 Rd, Alamosa, CO 81101 . Defaults shall be cured and regular payments shall be made:

[ ] None

                                                                                                                            Regular
                                                                                                                            monthly
                                                                                               Total                        payment to
                                                                   Total default               amount to      No. of        be made
                                                                   amount to     Interest      cure           months to     directly to       Date of first
Creditor                                                           be cured1     rate          arrearage      cure          creditor          payment


Eberhart Family Trust                                              79,630         7.00%        89,218         60            0                 08/30/2021


6.3        Class Two B [if none, indicate]: Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by an interest in real property that is
           the debtor's principal residence) or unsecured claims set forth below on which the last payment is due after the date on which the final payment
           under the Plan is due. Defaults shall be cured and regular payments shall be made:

[X] None

OR




L.B.F. 3015-1.1 (12/17)                                                                                                                       page 3
         Case:17-16886-TBM Doc#:89 Filed:03/05/18                                          Entered:03/05/18 12:37:20 Page4 of 12
                                                                                                                                 Regular
                                                                                                                                 monthly
                                                                                                  Total                          payment to
                                                                    Total default                 amount to       No. of         be made
                                                                    amount to     Interest        cure            months to      directly to       Date of first
Creditor                          Description of collateral         be cured2     rate            arrearage       cure           creditor          payment



6.4        Class Two C [if none, indicate]: Executory contracts and unexpired leases are rejected, except the following, which are assumed:

[X] None

OR

                                                                                                                                 Regular
                                                                                                                                 monthly
                                                                                                                                 payment to
                                                                                                  Total           No. of         be made
                                                Property, if any, subject to the contract         amount to       months to      directly to       Date of first
Other party to lease or contract                or lease                                          cure, if any    cure           creditor          payment



           A.   In the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of claim reflecting the rejection of the
                lease or contract within 30 days of the entry of the order confirming this plan, failing which the claim may be barred.

Part 7      Class Three –All Other Allowed Secured Claims

Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

7.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Three, debtor must specifically serve such creditor in the
           manner specified in Fed. R. Bankr. P. 9014 and 7004.

7.2        Adequate Protection: If adequate protection payments are indicated, such payments will be made by the trustee to the creditors indicated above
           until such time that superior class creditors are paid in full. Any adequate protection payments made will be subtracted from the total amount
           payable. Unless otherwise provided, adequate protection payments will accrue from the date of filing but will not be made until the creditor has filed a
           timely proof of claim.

7.3        Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012, 7004 and L.B.R. 3012-1, the debtor has
           filed and served a separate motion for valuation of collateral and determination of secured status under 11 U.S.C. § 506 as to the real property and
                                                                                            ’
           claims listed in Part 1.3 of this plan and below. The plan is subject to the court
                                                                                            s order on the debtor’  s motion. If the court grants the debtor’s motion,
           the creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed proof of claim, including such claims filed
           within thirty days from entry of an order determining secured status under Fed. R. Bankr. P. 3002(c)(1) and (3). The creditors listed in Part 1.3 and
           below shall retain the liens securing their claims until discharge under 11 U.S.C.  § 1328, or, if the debtor is not eligible for a discharge, upon the
           debtor’ s successful completion of all plan payments and the closing of the case.

[X] None

OR

                                                                                                                                         Proof of claim
                                                                         Description of collateral                                       amount, if
           Name of creditor                                              (pursuant to L.B.R. 3012-1)                                     any

7.4        Secured claims subject to 11 U.S.C. § 506 [if none, indicate]: The debtor moves the court, through this chapter 13 plan, for a valuation of
           collateral and determination of secured status under 11 U.S.C.§ 506 regarding the property and claims below. The creditors shall retain the liens
           securing their claims until discharge under 11 U.S.C. § 1328 or payment in full under nonbankruptcy law.

[ ] None
OR

           A.   The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the allowed claim shall be treated as a
                general unsecured claim.
                                                                                    Confirmation Amount of                        Adequate         Total
                                                                                    value of          debt as         Interest protection          amount
Creditor                                  Description of collateral                 collateral        scheduled       rate        payment          payable




L.B.F. 3015-1.1 (12/17)                                                                                                                            page 4
          Case:17-16886-TBM Doc#:89 Filed:03/05/18                                       Entered:03/05/18 12:37:20 Page5 of 12
           B.   The following creditors shall be paid the remaining balance payable on the debt over the period required to pay the sum in full.
                                                                                Confirmation Amount of                      Adequate         Total
                                                                                     value of         debt as Interest            protectio       amount
                                                                                     collatera        schedul          rat        n               payabl
Creditor                                  Description of collateral                  l                ed               e          payment         e

7.5        Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) [if none, indicate]: The following creditors shall retain the liens
           securing their claims, and they shall be paid the amount specified which represents the remaining balance payable on the debt over the period
           required to pay the sum in full:

[X] None

OR

                                                                                                                                     Adequate
                                                                                                          Amount of                  protection     Total
                                                                                                          debt as        Interest    payment        amount
Creditor                                             Description of collateral                            scheduled      rate                       payable

7.6        Property being surrendered [if none, indicate]: The debtor surrenders the following property securing an allowed secured claim to the holder of
           such claim:

[X] None

OR

                                                                                                                             Anticipated date of
Creditor                                                      Property                                                       surrender

7.7        Relief from Stay: Relief from the automatic stay to permit enforcement of the liens encumbering surrendered property shall be deemed granted by
                                                                                                                                 ’
           the Court at the time of confirmation of this Plan. With respect to property surrendered, no distribution on the creditor
                                                                                                                                 s claim shall be made unless
           that creditor files a proof of claim or an amended proof of claim to take into account the surrender of the property.

Part 8      Class Four –Allowed Unsecured Claims Not Otherwise Referred To in the Plan

8.1        Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greater of:
           A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C.
                                                                                              § 1325(a)(4) as set forth in Part 3.2; or
           B. Total disposable income for the applicable commitment period defined by 11 U.S.C.§ 1325(b)(1)-(4).

8.2        Disposable Income: The monthly disposable income of $0 [amount] has been calculated on Form 122C-1 or 122C-2, as applicable. Total
           disposable income is $0 [amount] which is the product of monthly disposable income of 0 [amount] times the applicable commitment period of
           36 months [time period].

8.3        Classification of Claims:
           A. [ x ] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment by the trustee of all prior
           classes;

           OR
           B. [ ] Class Four claims are divided into more than one class as follows:

           [describe].

8.4        Non-Dischargable Claims: A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C.         § 523(a)(2), (4), or (6), will
           share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is dismissed, converted to a Chapter 7 or discharge
           enters, unless ordered otherwise.

Part 9      Class Five –Post-Petition Claims Allowed Under 11 U.S.C. § 1305 (if none indicate)

Post-petition claims allowed under 11 U.S.C.§ 1305 shall be paid as follows:


OR

[X] None


Part 10     Other Provisions




L.B.F. 3015-1.1 (12/17)                                                                                                                        page 5
          Case:17-16886-TBM Doc#:89 Filed:03/05/18                                        Entered:03/05/18 12:37:20 Page6 of 12
10.1       Direct Payments: Payment will be made directly to the creditor by the debtor on the following claims:
                                                                                                                              Monthly
                                                                                                                              payment          No. of months
Creditor                                                      Collateral, if any                                              amount           to payoff
None

10.2       Effective Date of Plan: The effective date of this Plan shall be the date of entry of the Order of Confirmation.

10.3       Order of Distribution:
           A. [X] The amounts to be paid to the Class One creditors shall be paid in full, except that the chapter 13 trustee   ’
                                                                                                                                s fee shall be paid up to, but not
               more than, the amount accrued on actual payments made to date. After payment of the Class One creditors, the amounts to be paid to cure the
               defaults of the Class Two A, Class Two B and Class Two C creditors shall be paid in full before distributions to creditors in Classes Three,
               Four, and Five (strike any portion of this sentence which is not applicable). The amounts to be paid to the Class Three creditors shall be paid in
               full before distributions to creditors in Classes Four and Five. Distributions under the plan to unsecured creditors will only be made to creditors
               whose claims are allowed and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and after payments are made to Classes One, Two
               A, Two B, Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1..
           B. [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:

                [exceptions].

10.4       Motions to Void Liens under 11 U.S.C. § 522(f): In accordance with Fed. R. Bankr. P. 4003(d), the debtor intends to file or has filed, by separate
           motion served in accordance with Fed. R. Bankr. P. 7004, a motion to void lien pursuant to 11 U.S.C.
                                                                                                             § 522(f) as to the secured creditors listed in
           Part 1.4 and below:

                                                                                                                                         Date of order
                                                          Description of collateral (pursuant to L.B.R              Date motion to       granting motion
Creditor                                                  4003-2)                                                   avoid lien filed     or pending
None

10.5       Student Loans:

           []   No Student Loans

           OR

           [ x ] Student Loans are to be treated as an unsecured Class Four claim or as follows: Student loans will share in any class 4 distributions

           [describe].

10.6       Restitution:

           [X] No Restitution

           OR

           [ ] The debtor owes restitution in the total amount of $                          [amount] which is paid directly to
                [name/description] in the amount of $                              [amount] per month for a period of     [#] months; or as follows:

                [describe].

10.7       Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation of this Plan.

10.8       Insurance: Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will [ ] will not [ ][check one] be
           obtained and kept in force through the period of the Plan.
           Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

Part 11      Presumptively Reasonable Fee

The following election is made (check one box only):

[ ] Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a
                                                                             ). Any objection to the allowance of the Presumptively Reasonable
       Fee must be made by the objection deadline to confirmation.

OR

[ x ] Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).

Part 12      Nonstandard Plan Provisions

Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the


L.B.F. 3015-1.1 (12/17)                                                                                                                         page 6
          Case:17-16886-TBM Doc#:89 Filed:03/05/18                                        Entered:03/05/18 12:37:20 Page7 of 12
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

[ ] None
The following plan provisions will be effective only if there is a check in the box “included”in Part 1.2.
The approved stipulation by this Court between the Debtors and the Eberhart Family Trust shall be
incorporated into this plan by reference.
If the Debtors do not timely make any of the payments as required by this Amended Plan, or become
retroactively current on plan payments prior to December 1, 2017, the Debtors shall be in default. The
Debtors have agreed that the Eberhart Family Trust shall provide a one time written notice of their default to
the Debtors via mail with a copy to their counsel via email and mail. The Debtors shall thereafter have ten
(10) calendar days within which to cure their default. Should the Debtors fail to cure their default following the
one time written notice, or should the Debtors be in default of this Amended Plan a second time (for which no
notice is required), the stay provided for in 11 U.S.C.§ 362 against enforcement by the Eberhart Family Trust
shall automatically be lifted as to the real property known as 5417 5.4 Road, Alamosa, Colorado 81101, and
shall terminate without further order of the Bankruptcy Court. The Eberhart Family Trust shall thereafter be
entitled to foreclose its lien in accordance with its rights under the Home Equity Line of Credit Promissory
Note and Credit Agreement, Revolving Credit Deed of Trust and the applicable state laws and statues, but
not to seek to enforce any judgment the Eberhart Family Trust may obtain against the Debtors personally or
the Debtors’  post-petition property. If relief is granted per the terms of this stipulation, Eberhart Family Trust
shall be entitled to default interest in its Bid at any foreclosure sale per the Home Equity Line of Credit
Promissory Note and Credit Agreement and Revolving Deed of Trust.



OR

[ ] The following plan provisions will be effective only if there is a check in the box “
                                                                                        included”in Part 1.2.

[describe].

Part 13       Signature of Debtor(s) and Debtor(s)’Attorney

I certify that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the Official Form 3015-1.1, and that the plan
contains no nonstandard provisions other than those set out in Part 12.



Date                                                                                  /s/ Anthony Cross
                                                                                      Signature

                                                                                      Bar Number (if applicable):8933
                                                                                      Mailing Address: The Cross Law Firm
                                                                                      416 E Colorado Ave Ste 200
                                                                                      Colorado Springs, CO 80903-5604
                                                                                      Telephone Number:(719) 632-9991
                                                                                      Facsimile number:
                                                                                      E-mail address: anthonycrosshope@gmail.com


Part 14       Verification of Debtor

I declare under penalty of perjury that the foregoing is true and correct.

Dated:                                                                                /s/ Gregory Dwayne Scott
                                                                                      Signature of Debtor 1

                                                                                      Mailing Address: 5417 S 5.4 Rd
                                                                                      Alamosa, CO 81101

                                                                                      Telephone number:
                                                                                      Facsimile number:
                                                                                      E-mail address:

Dated:                                                                                /s/ Constance Lorraine Scott
                                                                                      Signature of Debtor 2

                                                                                      Mailing Address: 5417 S 5.4 Rd
                                                                                      Alamosa, CO 81101

                                                                                      Telephone number:
                                                                                      Facsimile number:



L.B.F. 3015-1.1 (12/17)                                                                                                                     page 7
          Case:17-16886-TBM Doc#:89 Filed:03/05/18                                Entered:03/05/18 12:37:20 Page8 of 12
                                                                               E-mail address:


1   The lesser of this amount or the amount specified in the Proof of Claim.
2   The lesser of this amount or the amount specified in the Proof of Claim.




L.B.F. 3015-1.1 (12/17)                                                                                         page 8
                                                            Case:17-16886-TBM Doc#:89 Filed:03/05/18                                                          Entered:03/05/18 12:37:20 Page9 of 12
 Fill in this information to identify the case:
                                                                                                                                                              2.4       Domestic Support: The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C. § 101(14A). Notice shall
                                                                                                                                                                        be provided to these parties in interest:
 United States Bankruptcy Court for the District of Colorado,
 Denver Division                                                                                                                                                        A.    Spouse/Parent:
                                                                                                                                                                              N/A
                                                                                          Case #:                                                                             [identify]
 Debtor 1        Scott, Gregory Dwayne                                                                                                                                  B.    Government:
                                                                                          Chapter: 13                                                                         N/A
 Debtor 2        Scott, Constance Lorraine                                                                                                                                    [identify]
                                                                                                                                                                        C.    Assignee or Other:
                                                                                                                                                                              N/A
                                                                                                                                                                              [identify]
                                                                                                                                                                        D.    The Debtor [ ] has provided the Trustee with the address and phone number of the Domestic Support Obligation recipient, or [X]
                                                                                                                                                                              cannot provide the address or phone number because it/they is/are not available.
Local Bankruptcy Form 3015-1.1                                                                                                                                          E.    The current monthly income of the debtor, as reported on Official form 122C-1 or 122C-2, as applicable, is [X] below, [ ] equal to, or [
                                                                                                                                                                              ] above the applicable median income
 CHAPTER 13 PLAN
INCLUDING VALUATION OF COLLATERAL AND CLASSIFICATION OF CLAIMS                                                                                                 Part 3        Plan Analysis
Complete applicable sections. This chapter 13 plan dated February 26, 2018 supersedes all previously filed plans.
                                                                                                                                                              3.1       Total Debt Provided for under the Plan and Administrative Expenses
 Part 1      Notices                                                                                                                                                     A. Total Priority Claims (Class One)
                                                                                                                                                                            1. Unpaid attorney’s fees                                                                                              $ 4,310
1.1. To Creditors: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file a written objection with the Court                                    (total attorney’s fees are estimated to be $ 6,000 [amount] of which $ 1,690 [amount] has been
     by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file a timely objection, you will be deemed to have                      prepaid)
     accepted the terms of the plan, which may be confirmed without further notice or hearing. Creditors must file timely proofs of claim in order to                       2. Unpaid attorney’s costs (estimated)                                                                                 $ 0300
     receive the applicable payments.                                                                                                                                       3. Total taxes
                                                                                                                                                                                 (Federal $ 0 [amount]; State $ 0 [amount]; Other $ 0 [amount])                                                    $0
1.2. NONSTANDARD PROVISIONS                                                                                                                                              B. Total payments to cure defaults (Class Two)                                                                            $ 89,218
     [ x ] This plan contains nonstandard provisions, set out in Part 12 of the plan.                                                                                    C. Total payments on secured claims (Class Three)                                                                         $0
                                                                                                                                                                         D. Total payments on unsecured claims (Class Four)                                                                        $0
1.3. MOTIONS FOR VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11 U.S.C. § 506                                                                       E. Sub-Total                                                                                                              $ 93,828
     [ ] This plan contains a motion for valuation of personal property collateral and determination of secured status under 11 U.S.C. § 506.                            F. Total trustee’s compensation (10%) of debtor’s payments)                                                               $ 9382
         Additional details are provided in Part 7.4 of this plan.
                                                                                                                                                                         G. Total debt and administrative expenses                                                                                 $ 103,210
     [ ] The debtor is requesting a valuation of real property collateral and determination of secured status under 11 U.S.C. § 506 by separate
         motion. Additional details are provided in Parts 7.3 and/or Part 7.4 of this plan. Status of motion:
                                                                                                                                                              3.2       Reconciliation with Chapter 7
          [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]                                                             A. The net property values set forth below are liquidation values rather than replacement values. The replacement values may appear in
                                                                                                                                                                            Class Three of the plan.
1.4. MOTIONS FOR LIEN AVOIDANCE UNDER 11 U.S.C. § 522(f)                                                                                                                B. Assets available to Class Four unsecured creditors if Chapter 7 filed:
     [ ] The debtor is requesting avoidance of a judicial lien or nonpossessory, non-purchase-money security interest under 11 U.S.C. §                                          1. Value of debtor’s interest in non-exempt property                                                $0
     522(f) by separate motion. Additional details are provided in Part 10.4 of this plan. Status of motion:
                                                                                                                                                                                                                                         Less costs                      x Debtor’s       Less
      [list status of motion here (i.e. date filed, date granted, to be filed contemporaneously, etc.)]                                                        Property                                                 Value            of sale         Less Liens      Interest         Exemptions         = Net Value
                                                                                                                                                               None
 Part 2      Background Information
                                                                                                                                                                                      2.   Plus: value of property recoverable under avoiding powers:                                              $0
                                                                                                                                                                                      3.   Less: estimated Chapter 7 administrative expenses:                                                      $0
2.1       Prior bankruptcies pending within one year of the petition date for this case:                                                                                              4.   Less: amounts payable to priority creditors:                                                            $0
           Case Number and Chapter                    Discharge or dismissal / conversion                     Date
                                                                                                                                                                                      5.   Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if negative, enter zero)   $0
           None
                                                                                                                                                                         C.       Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan plus any funds recovered
2.2       Discharge: The debtor:                                                                                                                                                  from “other property” described in Part 4.1.D below.                                                             $0
          [ x ] is eligible for a discharge
                                                                                                                                                               Part 4        Properties and Future Earnings Subject to the Supervision and Control of the Trustee
          OR
                                                                                                                                                              4.1        Future Earnings: The debtor submits to the supervision and control of the Trustee all or such portion of the debtor's future earnings or other
          [ ] is not eligible for a discharge and is not seeking a discharge.                                                                                 future income as is necessary for the execution of the Plan, including:
                                                                                                                                                                         A. Future earnings which shall be paid to the trustee for a period of approximately 60 [#] months, beginning [month/day/year] as follows:
2.3       Domicile & Exemptions:                                                                                                                                         B.
                                                                                                                                                                            Number of Payments                                Amount of Payments                              Total
          Prior states of domicile:
                                                                                                                                                                              7                                                 various                                          6058
               within 730 days N/A                                                                                                                                            53                                                1834                                             97,202
                                                                                                                                                                                                                                Total of monthly payments                        103,260
               within 910 days N/A
                                                                                                                                                                        C.    Amounts for the payment of Class Five post-petition claims included in above: $ 0 [amount]
          The debtor is claiming exemptions available in the [X] state of Colorado or [ ] federal exemptions.                                                           D.    Other property:



L.B.F. 3015-1.1 (12/17)                                                                                                                 page 1                L.B.F. 3015-1.1 (12/17)                                                                                                                   page 2
                                                          Case:17-16886-TBM Doc#:89 Filed:03/05/18                                                            Entered:03/05/18 12:37:20 Page10 of 12
                                                                                                                                                              [X] None
           [specify].
                                                                                                                                                              OR
4.2        Payments: The debtor agrees to make payments under the Plan as follows:
      [ ] Voluntary wage assignment to employer: Paid in the following manner: $                    [amount] to be deducted                                                                                                                                                             Regular
      [time period, e.g., weekly, monthly, per pay period, etc.]. Employer’s name, address, telephone number: [name, address, telephone                                                                                                                                                 monthly
      number].                                                                                                                                                                                                                    Total                       Total                     payment to
                                                                                                                                                                                                                                  default                     amount to       No. of    be made
      OR
                                                                                                                                                                                                                                  amount to      Interest     cure            months to directly to          Date of first
                                                                                                                                                               Creditor                          Description of collateral        be cured2      rate         arrearage       cure      creditor             payment
      [X] Direct Payment from debtor to trustee


 Part 5       Class One - Claims Entitled to Priority Under 11 U.S.C. § 507                                                                                   6.4        Class Two C [if none, indicate]: Executory contracts and unexpired leases are rejected, except the following, which are assumed:

Unless other provision is made in paragraph 10.3, each creditor in Class One shall be paid in full in deferred cash payments prior to the                     [X] None
commencement of distributions to any other class (except that the payments to the Trustee shall be made by deduction from each payment
made by the debtor to the Trustee) as follows:                                                                                                                OR

5.1        Allowed administrative expenses:                                                                                                                                                                                                                                             Regular
            A. Trustee's compensation (10% of amounts paid by debtor under this Plan)                                              $ 9832                                                                                                                                               monthly
            B. Attorney's Fees (estimated and subject to allowance)                                                                $ 4,310                                                                                                                                              payment to
            C. Attorney's Costs (estimated and subject to allowance)                                                                                                                                                                                     Total                No. of    be made
                                                                                                                                   $ 0300
                                                                                                                                                                                                               Property, if any, subject to the contract amount to            months to directly to          Date of first
5.2        Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 [if none, indicate]:                                      Other party to lease or contract                or lease                                  cure, if any         cure      creditor             payment
           A. Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to distribute amounts provided by
           the plan.
                1. Priority support arrearage: The debtor owes past due support to                                                                                       A.    In the event that debtor rejects the lease or contract, creditor shall file a proof of claim or amended proof of claim reflecting the rejection
                     [name] in the total amount of $                      [amount] that will be paid as follows:                                                               of the lease or contract within 30 days of the entry of the order confirming this plan, failing which the claim may be barred.
                     [ ] Distributed by the Trustee pursuant to the terms of the Plan; or
                     [ ] The debtor is making monthly payments via a wage order [ ] or directly [ ] (reflected on Schedule I or J) in the amount of $          Part 7         Class Three – All Other Allowed Secured Claims
                     [amount] to                                                     . Of that monthly amount,                        [amount] is for
                     current support payments and $                        [amount] is to pay the arrearage.
                2. Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court and submit to      Claims shall be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:
                the Trustee an update of the required information regarding Domestic Support Obligations and the status of required payments.
           B. Taxes                                                                                                                                           7.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Three, debtor must specifically serve such creditor in
                      1. Federal Taxes                                                                                             $0                                    the manner specified in Fed. R. Bankr. P. 9014 and 7004.
                      2. State Taxes                                                                                               $0
                                                                                                                                                              7.2        Adequate Protection: If adequate protection payments are indicated, such payments will be made by the trustee to the creditors indicated
                      3. Other Taxes:                                                                                 $ None                                             above until such time that superior class creditors are paid in full. Any adequate protection payments made will be subtracted from the total
                                                                                                                                                                         amount payable. Unless otherwise provided, adequate protection payments will accrue from the date of filing but will not be made until the
                             [describe]                                                                                                                                  creditor has filed a timely proof of claim.
                        4.   Other Class One Claims (if any) (describe):                                                      $ None
                                                                                                                                                              7.3        Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with Fed. R. Bankr. P. 3012, 7004 and L.B.R. 3012-1, the
                             [describe]                                                                                                                                  debtor has filed and served a separate motion for valuation of collateral and determination of secured status under 11 U.S.C. § 506 as to the
                                                                                                                                                                         real property and claims listed in Part 1.3 of this plan and below. The plan is subject to the court’s order on the debtor’s motion. If the court
 Part 6       Class Two – Defaults                                                                                                                                       grants the debtor’s motion, the creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed proof of
                                                                                                                                                                         claim, including such claims filed within thirty days from entry of an order determining secured status under Fed. R. Bankr. P. 3002(c)(1) and
6.1        Modification of Rights: If debtor is proposing to modify the rights of creditors in Class Two, debtor must specifically serve such creditor in                (3). The creditors listed in Part 1.3 and below shall retain the liens securing their claims until discharge under 11 U.S.C. § 1328, or, if the
           the manner specified in Fed. R. Bankr. P. 9014 and 7004.                                                                                                      debtor is not eligible for a discharge, upon the debtor’s successful completion of all plan payments and the closing of the case.
6.2        Class Two A (if none, indicate): Claims set forth below are secured only by an interest in real property that is the debtor's principal
           residence located at 5417 S 5.4 Rd, Alamosa, CO 81101 . Defaults shall be cured and regular payments shall be made:                                [X] None

[ ] None                                                                                                                                                      OR

                                                                                                                      Regular                                                                                                                                                                       Proof of
                                                                                                                                                                                                                                                                                                    claim
                                                                                                                      monthly                                                                                                          Description of collateral                                    amount, if
                                                                  Total                      Total                    payment to                                          Name of creditor                                             (pursuant to L.B.R. 3012-1)                                  any
                                                                  default                    amount to      No. of    be made
                                                                  amount to     Interest     cure           months to directly to          Date of first      7.4        Secured claims subject to 11 U.S.C. § 506 [if none, indicate]: The debtor moves the court, through this chapter 13 plan, for a valuation of
 Creditor                                                         be cured1     rate         arrearage      cure      creditor             payment                       collateral and determination of secured status under 11 U.S.C. § 506 regarding the property and claims below. The creditors shall retain the
                                                                                                                                                                         liens securing their claims until discharge under 11 U.S.C. § 1328 or payment in full under nonbankruptcy law.
 Eberhart Family Trust                                            79,630        7.00%        89,218         60            0                08/30/2021
                                                                                                                                                              [ ] None
                                                                                                                                                              OR
6.3        Class Two B [if none, indicate]: Pursuant to 11 U.S.C. § 1322(b)(5), secured (other than claims secured only by an interest in real property
           that is the debtor's principal residence) or unsecured claims set forth below on which the last payment is due after the date on which the final              A.    The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the allowed claim shall be treated
           payment under the Plan is due. Defaults shall be cured and regular payments shall be made:




L.B.F. 3015-1.1 (12/17)                                                                                                                  page 3               L.B.F. 3015-1.1 (12/17)                                                                                                                      page 4
                                                          Case:17-16886-TBM Doc#:89 Filed:03/05/18                                                               Entered:03/05/18 12:37:20 Page11 of 12
                 as a general unsecured claim.
                                                                            Confirmation       Amount of                    Adequate          Total
                                                                            value of           debt as         Interest     protection        amount              Part 10      Other Provisions
 Creditor                               Description of collateral           collateral         scheduled       rate         payment           payable
                                                                                                                                                                 10.1       Direct Payments: Payment will be made directly to the creditor by the debtor on the following claims:
           B.    The following creditors shall be paid the remaining balance payable on the debt over the period required to pay the sum in full.
                                                                                                                                                                                                                                                                                         Monthly          No. of
                                                                                                                                          Total                                                                                                                                          payment          months to
                                                                                             Amount of                   Adequate               amoun             Creditor                                                    Collateral, if any
                                                                           Confirmation           debt as                      protectio                                                                                                                                                 amount           payoff
                                                                                                                                                t
                                                                                value of          schedul Interest             n                payabl            None
 Creditor                                Description of collateral              collateral        ed              rate         payment          e
                                                                                                                                                                 10.2       Effective Date of Plan: The effective date of this Plan shall be the date of entry of the Order of Confirmation.
7.5        Secured claims to which 11 U.S.C. § 506 shall not apply (personal property) [if none, indicate]: The following creditors shall retain the
           liens securing their claims, and they shall be paid the amount specified which represents the remaining balance payable on the debt over the          10.3       Order of Distribution:
           period required to pay the sum in full:                                                                                                                          A. [X] The amounts to be paid to the Class One creditors shall be paid in full, except that the chapter 13 trustee’s fee shall be paid up to,
                                                                                                                                                                                but not more than, the amount accrued on actual payments made to date. After payment of the Class One creditors, the amounts to be
[X] None                                                                                                                                                                        paid to cure the defaults of the Class Two A, Class Two B and Class Two C creditors shall be paid in full before distributions to creditors
                                                                                                                                                                                in Classes Three, Four, and Five (strike any portion of this sentence which is not applicable). The amounts to be paid to the Class Three
OR                                                                                                                                                                              creditors shall be paid in full before distributions to creditors in Classes Four and Five. Distributions under the plan to unsecured
                                                                                                                                                                                creditors will only be made to creditors whose claims are allowed and are timely filed pursuant to Fed. R. Bankr. P. 3002 and 3004 and
                                                                                                                                 Adequate                                       after payments are made to Classes One, Two A, Two B, Two C and Three above in the manner specified in Parts 5, 6, 7, and 8.1..
                                                                                                     Amount of                   protection      Total                      B. [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:
                                                                                                     debt as        Interest     payment         amount
 Creditor                                          Description of collateral                         scheduled      rate                         payable                         [exceptions].

                                                                                                                                                                 10.4       Motions to Void Liens under 11 U.S.C. § 522(f): In accordance with Fed. R. Bankr. P. 4003(d), the debtor intends to file or has filed, by
7.6        Property being surrendered [if none, indicate]: The debtor surrenders the following property securing an allowed secured claim to the
                                                                                                                                                                            separate motion served in accordance with Fed. R. Bankr. P. 7004, a motion to void lien pursuant to 11 U.S.C. § 522(f) as to the secured
           holder of such claim:
                                                                                                                                                                            creditors listed in Part 1.4 and below:
[X] None                                                                                                                                                                                                                                                                                               Date of order
                                                                                                                                                                                                                           Description of collateral (pursuant to L.B.R            Date motion to      granting motion
OR                                                                                                                                                                Creditor                                                 4003-2)                                                 avoid lien filed    or pending
                                                                                                                           Anticipated date of
                                                                                                                                                                  None
 Creditor                                                     Property                                                     surrender
                                                                                                                                                                 10.5       Student Loans:
7.7        Relief from Stay: Relief from the automatic stay to permit enforcement of the liens encumbering surrendered property shall be deemed
           granted by the Court at the time of confirmation of this Plan. With respect to property surrendered, no distribution on the creditor’s claim shall               [ ] No Student Loans
           be made unless that creditor files a proof of claim or an amended proof of claim to take into account the surrender of the property.
                                                                                                                                                                            OR
 Part 8         Class Four – Allowed Unsecured Claims Not Otherwise Referred To in the Plan
                                                                                                                                                                            [ x ] Student Loans are to be treated as an unsecured Class Four claim or as follows: Student loans will share in any class 4 distributions
8.1        Payment of Class Four Claims: Class Four Claims are provided for in an amount not less than the greater of:
           A. The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in Part 3.2; or                                  [describe].
           B. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325(b)(1)-(4).
                                                                                                                                                                 10.6       Restitution:
8.2        Disposable Income: The monthly disposable income of $ 0 [amount] has been calculated on Form 122C-1 or 122C-2, as applicable. Total
           disposable income is $ 0 [amount] which is the product of monthly disposable income of 0 [amount] times the applicable commitment
                                                                                                                                                                            [X] No Restitution
           period of 36 months [time period].                                                                                                                               OR
8.3        Classification of Claims:
                                                                                                                                                                            [ ] The debtor owes restitution in the total amount of $                      [amount] which is paid directly to
           A. [ x ] Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment by the trustee of all                           [name/description] in the amount of $                         [amount] per month for a period of     [#] months; or as follows:
           prior classes;
                                                                                                                                                                                 [describe].
           OR
           B. [ ] Class Four claims are divided into more than one class as follows:                                                                             10.7       Reinvestment of Property in debtor: All property of the estate shall vest in the debtor at the time of confirmation of this Plan.
           [describe].                                                                                                                                           10.8       Insurance: Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will [ ] will not [ ][check
                                                                                                                                                                            one] be obtained and kept in force through the period of the Plan.
8.4        Non-Dischargable Claims: A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. § 523(a)(2), (4), or (6),
                                                                                                                                                                            Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.
           will share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is dismissed, converted to a Chapter 7 or
           discharge enters, unless ordered otherwise.
                                                                                                                                                                  Part 11      Presumptively Reasonable Fee
 Part 9         Class Five – Post-Petition Claims Allowed Under 11 U.S.C. § 1305 (if none indicate)
                                                                                                                                                                 The following election is made (check one box only):
Post-petition claims allowed under 11 U.S.C. § 1305 shall be paid as follows:
                                                                                                                                                                 [ ] Counsel elects the Presumptively Reasonable Fee pursuant to L.B.R. 2016-3(a). Any objection to the allowance of the Presumptively
                                                                                                                                                                        Reasonable Fee must be made by the objection deadline to confirmation.
OR
                                                                                                                                                                 OR
[X] None


L.B.F. 3015-1.1 (12/17)                                                                                                                    page 5                L.B.F. 3015-1.1 (12/17)                                                                                                                  page 6
                                                           Case:17-16886-TBM Doc#:89 Filed:03/05/18                                                           Entered:03/05/18 12:37:20 Page12 of 12
[ x ] Counsel elects to file the Long Form Fee Application pursuant to L.B.R. 2016-3(b).                                                                       Dated:                                                                      /s/ Constance Lorraine Scott
                                                                                                                                                                                                                                           Signature of Debtor 2
 Part 12      Nonstandard Plan Provisions
                                                                                                                                                                                                                                           Mailing Address: 5417 S 5.4 Rd
Under Bankruptcy Rule 3015.1(e), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the                                                                                      Alamosa, CO 81101
Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                                                                                                                                                                                                                                           Telephone number:
[ ] None                                                                                                                                                                                                                                   Facsimile number:
                                                                                                                                                                                                                                           E-mail address:
The following plan provisions will be effective only if there is a check in the box “included” in Part 1.2.
The approved stipulation by this Court between the Debtors and the Eberhart Family Trust shall be
incorporated into this plan by reference.                                                                                                                     1 The lesser of this amount or the amount specified in the Proof of Claim.
If the Debtors do not timely make any of the payments as required by this Amended Plan, or become
                                                                                                                                                              2 The lesser of this amount or the amount specified in the Proof of Claim.
retroactively current on plan payments prior to December 1, 2017, the Debtors shall be in default. The
Debtors have agreed that the Eberhart Family Trust shall provide a one time written notice of their default to
the Debtors via mail with a copy to their counsel via email and mail. The Debtors shall thereafter have ten
(10) calendar days within which to cure their default. Should the Debtors fail to cure their default following the
one time written notice, or should the Debtors be in default of this Amended Plan a second time (for which no
notice is required), the stay provided for in 11 U.S.C. § 362 against enforcement by the Eberhart Family Trust
shall automatically be lifted as to the real property known as 5417 5.4 Road, Alamosa, Colorado 81101, and
shall terminate without further order of the Bankruptcy Court. The Eberhart Family Trust shall thereafter be
entitled to foreclose its lien in accordance with its rights under the Home Equity Line of Credit Promissory
Note and Credit Agreement, Revolving Credit Deed of Trust and the applicable state laws and statues, but
not to seek to enforce any judgment the Eberhart Family Trust may obtain against the Debtors personally or
the Debtors’ post-petition property. If relief is granted per the terms of this stipulation, Eberhart Family Trust
shall be entitled to default interest in its Bid at any foreclosure sale per the Home Equity Line of Credit
Promissory Note and Credit Agreement and Revolving Deed of Trust.



OR

[ ] The following plan provisions will be effective only if there is a check in the box “included” in Part 1.2.

[describe].

 Part 13      Signature of Debtor(s) and Debtor(s)’ Attorney

I certify that the wording and order of the provisions in this Chapter 13 Plan are identical to those contained in the Official Form 3015-1.1, and that the
plan contains no nonstandard provisions other than those set out in Part 12.



 Date                                                                                /s/ Anthony Cross
                                                                                     Signature

                                                                                     Bar Number (if applicable): 8933
                                                                                     Mailing Address: The Cross Law Firm
                                                                                     416 E Colorado Ave Ste 200
                                                                                     Colorado Springs, CO 80903-5604
                                                                                     Telephone Number: (719) 632-9991
                                                                                     Facsimile number:
                                                                                     E-mail address: anthonycrosshope@gmail.com


 Part 14      Verification of Debtor

I declare under penalty of perjury that the foregoing is true and correct.

 Dated:                                                                              /s/ Gregory Dwayne Scott
                                                                                     Signature of Debtor 1

                                                                                     Mailing Address: 5417 S 5.4 Rd
                                                                                     Alamosa, CO 81101

                                                                                     Telephone number:
                                                                                     Facsimile number:
                                                                                     E-mail address:




L.B.F. 3015-1.1 (12/17)                                                                                                                   page 7              L.B.F. 3015-1.1 (12/17)                                                                                       page 8
